Case 2:04-cr-20241-.]DB Document 95 Filed 07/01/05 Page 1 of 2 Page|D 92
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IN THE UNITED STATES DISTRICT COURT EY'“' "'~---W¢

FoR THE WESTERN DISTRICT oF TENNESSEE _‘_
WESTERN DIVISION 05 `M' ' nn 7‘ 58

W.US DlSlCT mm
UNITED STATES OF AMERICA, WOF TN, TFFEMPI*lS
Plaintiff,
v. No. 04-20241-B

CURTIS BYRD, JR. ,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is counsel for Defendant Curtis Byrd’s Motion to Withdraw
Representation filed on June 27, 2005.

This motion and appointment of new counsel, if necessary, is referred to the United
States Magistrate Judge for determination Any objections to the magistrate judge’s order shall
be made within ten (10) days after service of the order, setting forth particularly those portions
of the order objected to and the reasons for the objections

f\
IT IS SO ORDERED this 3 0 day of June, 2005.

/h%\

c J. DANIEL BREEN \
ED STATES DISTRICT JUDGE

 

This doctment entered on the docket sheet |n compliance
with Hdle 55 and!or 32Ib) FHCrP on ‘ '

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Notice of Distribution

This notice confirms a copy of the document docketed as number 95 in
case 2:04-CR-2024l Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

